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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                   NO. 4:08CR00054-01 JLH

ANTONIO TOREL PERSON                                                              DEFENDANT


                                           ORDER

       This matter is hereby rescheduled for trial to a jury to begin at 9:15 a.m. the week of

MONDAY, MARCH 1, 2010, in Little Rock, Arkansas. Counsel are to be present thirty minutes

prior to trial time. Revised jury instructions should be electronically submitted to the Court by

February 19, 2010, in WordPerfect to jlhchambers@ared.uscourts.gov.

       IT IS SO ORDERED this 3rd day of February, 2010.



                                                    ___________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
